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                                                                         U.S.DIS?~"~T
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 8                              U NITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10 U NITED STATES OF AMERICA,                     Case No.: CR-08-01201-ODW-70
11                      Plaintiff,                ORDER OF DETENTION
12                                                               3143(a)]~a)(6);
   V                                              X18 U.S.C. §
13 KLINT AUSTIN MELCER,
14                      Defendant.
15
16          The defendant having been arrested in this District pursuant to a warrant issued by
17 the United States District Court for the ~'a-l- ~~~Gt of ~U.~orvu.e~.. for alleged
18 violations) of the terms and conditions of his/her [probation][supervised release]; and
19          The Court having conducted a detention hearing pursuant to Federal Rule of
20 Criminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a);
21          The Court finds that:
22 A.       (v~The defendant has not met his/her burden of established by clear and
23          convincing evidence that he/she is not likely to flee if released under 1~,~~C,.§
24          3142(b) or (c). This finding is based on     ~~ °~ `~- ~e-noes' ~u;l~u"~'-b
25       r~or-~ -I-a ~-~'~pr r~s r1 ~r'~r~~: ~r►'nv Q.1~s~_o-,n ~.1~'v~ a               ~-rM
26
27
28          and/or
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 1          ( )The defendant has not met his/her burden of establishing by clear and
 2           convincing evidence that he/she is not likely to pose a danger to the safety of any
 3           other person or the community if released under 18 U.S.C. § 3142(b) or (c). This
 4          finding is based on:
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 9           IT IS THEREFORE ORDERED that the defendant be detained pending the further
10 revocation proceedings.
11
12 Dated: November 15, 2021
13                                                            United States Magistra e Judge
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